               Case 2:14-cv-01089-MJP Document 92 Filed 10/31/14 Page 1 of 8



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 7
                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 9

10      JOHN E. WILLIAMS III,                               CASE NO. C14-1089 MJP

11                              Plaintiff,                  ORDER ON MOTIONS TO
                                                            DISMISS, SECOND AMENDED
12              v.                                          COMPLAINT

13      NATIONAL FOOTBALL LEAGUE et
        al.,
14
                                Defendants.
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16
            THIS MATTER comes before the Court on Defendants Football Northwest LLC d/b/a
17
     the Seattle Seahawks, First & Goal Inc., the Washington State Public Stadium Authority, and
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     Ticketmaster LLC’s Motion to Dismiss (Dkt. No. 72) and Defendants National Football League
19
     and NFL Properties LLC’s Joinder and Motion to Dismiss (Dkt. No. 73). After the motions noted
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     for the Court’s consideration, Plaintiff John Williams III, who is proceeding pro se, filed a
21
     second proposed Amended Complaint (Dkt. No. 89), which the Court will construe as a motion
22
     for leave to file a second amended complaint pursuant to Federal Rule of Civil Procedure
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     15(a)(2). Having considered the motions, Plaintiff’s Response (Dkt. No. 78), Defendants’
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     ORDER ON MOTIONS TO DISMISS, SECOND
     AMENDED COMPLAINT- 1
               Case 2:14-cv-01089-MJP Document 92 Filed 10/31/14 Page 2 of 8



 1 procedural and substantive Replies (Dkt. Nos. 76, 77, 79, 80), Plaintiff’s Surreply (Dkt. No. 81),

 2 Defendants’ responsive Surreply (Dkt. No. 83), Plaintiff’s final Surreplies (Dkt. No. 84, 86), and

 3 Plaintiff’s proposed Amended Complaint (Dkt. No. 89) and Defendants’ Motions to Strike the

 4 proposed Amended Complaint (Dkt. Nos. 90, 91), the Court hereby DISMISSES the First

 5 Amended Complaint with prejudice, DENIES leave to file a Second Amended Complaint

 6 because amendment would be futile, and DENIES the Motions to Strike.

 7                                               Background

 8          Pro se plaintiff John E. Williams filed a complaint in the District of Nevada alleging

 9 various constitutional and statutory violations arising out of the Seahawks’ restriction of

10 primary-market ticket sales for the NFC Championship game between the Seahawks and the

11 49ers to buyers with billing addresses in Washington and other nearby states and provinces. (See

12 Dkt. No. 1.) Judge Andrew P. Gordon of the District of Nevada ordered the case transferred to

13 the District of Western Washington on July 11, 2014. (Dkt. No. 47.) Plaintiff filed an amended

14 Complaint on August 12, 2014 (Dkt. No. 66), and Defendants moved to dismiss. (Dkt. Nos. 72,

15 73.)

16          Plaintiff alleges he was denied an opportunity to purchase tickets to the January 16, 2014

17 game between the Seahawks and the San Francisco 49ers at Seattle’s CenturyLink Field. (Dkt.

18 No. 66 at 6.) A 49ers fan and Nevada resident, Plaintiff alleges the geographic restriction on

19 ticket sales injured him because he was “excluded from the purchase of tickets” in the primary

20 market. (Id.) Plaintiff acknowledges that sales on the secondary market are not geographically

21 restricted, but alleges the secondary market offers tickets at inflated prices. (Id. at 9.)

22 Plaintiff further alleges various facts relating to the financing of the stadium itself (id. at 2–3),

23 the role of the NFL commissioner (id. at 4–5), and the tax-exempt status of the NFL (id. at 5).

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     ORDER ON MOTIONS TO DISMISS, SECOND
     AMENDED COMPLAINT- 2
                 Case 2:14-cv-01089-MJP Document 92 Filed 10/31/14 Page 3 of 8



 1 Plaintiff acknowledges the NFL’s position that it does not set policy for ticket sales by individual

 2 teams, but asserts the NFL has an obligation to promulgate a policy that complies with federal

 3 law. (Id. at 6.) Finally, Plaintiff alleges Ticketmaster complies with the Seahawks’ geographic

 4 restriction policy and operates a market for secondary sales. (Id.)

 5          Plaintiff seeks a declaration that the geographic restriction is unlawful on the basis of

 6 “economic discrimination and violation of public accommodation” (id. at 6–7) as well as

 7 damages for violation of the Washington Consumer Protection Act and its federal counterpart

 8 (id. at 7–8), for violation of the Sherman Act (id. at 8) and the Clayton Act (id. at 9), and for

 9 unjust enrichment (id. at 8–9).

10          Plaintiff’s proposed Second Amended Complaint brings very similar claims for relief, but

11 presents selected additional facts about the roles of individuals in the Defendant organizations

12 and cites NFL By-Laws, while eliminating other facts about the Washington State Public

13 Stadium Authority. (See Dkt. No. 89.)

14                                                Analysis

15          I.       Legal Standard

16          The Federal Rules require a plaintiff to plead “a short and plain statement of the claim

17 showing that [he] is entitled to relief.” Fed. R. Civ. P. 8(a)(2). “To survive a motion to dismiss, a

18 complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is

19 plausible on its face.’ ” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atl. Corp. v.

20 Twombly, 550 U.S. 544, 570 (2007)). A claim is plausible “when the plaintiff pleads factual

21 content that allows the court to draw the reasonable inference that the defendant is liable for the

22 conduct alleged.” Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 545). In determining

23 plausibility, the Court accepts all facts in the Complaint as true. Barker v. Riverside Cnty. Office

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     ORDER ON MOTIONS TO DISMISS, SECOND
     AMENDED COMPLAINT- 3
               Case 2:14-cv-01089-MJP Document 92 Filed 10/31/14 Page 4 of 8



 1 of Educ., 584 F.3d 821, 824 (9th Cir. 2009). The Court need not accept as true any legal

 2 conclusions put forth by the plaintiff. Iqbal, 556 U.S. at 678.

 3          II.     Late Opposition and Pro Se Status

 4          As Defendants observe (Dkt. Nos. 76, 77), Plaintiff’s opposition to Defendants’ Motions

 5 to Dismiss was due September 15 according to Local Civil Rule 7(d)(3). LCR 7(d)(3) (“Any

 6 opposition papers shall be filed and served not later than the Monday before the noting date.”).

 7 “Although we construe pleadings liberally in their favor, pro se litigants are bound by the rules

 8 of procedure.” Ghazali v. Moran, 46 F.3d 52, 54 (9th Cir. 1995). Not only did Plaintiff file his

 9 opposition after the noting date, on which the Court could begin to consider the motions, he has

10 also filed several surreplies that are not permitted by the rules without seeking the Court’s leave.

11 In light of Plaintiff’s pro se status, the Court exercises its discretion to consider the late

12 opposition and the surreplies, but requires Plaintiff to adhere to all procedural rules in the future.

13          III.    “Economic Discrimination” and Public Accommodation

14          Plaintiff’s request for a declaratory judgment is based on claims of “economic

15 discrimination” and violation of public accommodation laws. (Dkt. No. 66 at 6.) With respect to

16 the first claim, Plaintiff clarifies in his Response that it refers to the alleged economic harm done

17 to “the Economy in Seattle as well as the State of Washington State, since most of the tickets

18 sold was to locals in your market place.” (Dkt. No. 78 at 10.)

19          Defendants Football Northwest LLC D/B/A The Seattle Seahawks, First & Goal Inc.,

20 The Washington State Public Stadium Authority, and Ticketmaster LLC (the “Seahawks

21 Defendants”) correctly point out a free-standing assertion of “economic discrimination” does not

22 state a cognizable legal claim. Furthermore, Plaintiff lacks standing to complain about economic

23 harm done to the city of Seattle or Washington state, as he attempts to do in his Response. (See

24 Dkt. No. 78 at 10.)

     ORDER ON MOTIONS TO DISMISS, SECOND
     AMENDED COMPLAINT- 4
              Case 2:14-cv-01089-MJP Document 92 Filed 10/31/14 Page 5 of 8



 1          The Seahawks Defendants hypothesize Plaintiff might have intended to assert a

 2 Privileges and Immunities Clause claim, which does concern certain kinds of discrimination by a

 3 state against citizens of another state in favor if its own citizens. (Dkt. No. 72 at 11–12.)

 4 However, as the Seahawks Defendants note, the privileges protected by the Privileges and

 5 Immunities Clause do not include recreational activities such as attending a football game. See

 6 Baldwin v. Fish & Game Comm’n of Montana, 436 U.S. 371, 388 (1978) (distinguishing

 7 unprotected “recreation” and “sport” activities from activities that are “means to the

 8 nonresident’s livelihood,” “basic to the maintenance or well-being of the Union,” or a

 9 component of the right to travel).

10          As for public accommodation, the Court agrees with the Seahawks Defendants that Title

11 II of the Civil Right Act of 1964 does not extend to discrimination on the basis of state residence.

12 See 42 U.S.C. § 2000a(a). Neither does the Washington equivalent, the Washington Law Against

13 Discrimination. See RCW 49.60.215.

14          Plaintiff fails to state a claim for economic discrimination on the facts alleged.

15          IV.     Washington Consumer Protection Act and “Federal Consumer Protection” Law

16          Next the Seahawks Defendants challenge Plaintiff’s invocation of the Washington

17 Consumer Protection Act, which prohibits unfair or deceptive acts or practices in trade or

18 commerce. See RCW 19.86.020. The Seahawks Defendants contend Plaintiff has not stated a

19 claim under this provision because there was no unfair or deceptive act or practice, the first

20 element of a WCPA claim. See Hangman Ridge Training Stables, Inc. v. Safeco Title Ins. Co.,

21 105 Wn.2d 778, 785 (1986). The Court cannot discern any allegations about an unfair or

22 deceptive act or practice as the term is defined in the statute in Plaintiff’s Amendment

23 Complaint; rather, the policy appears to be clear on its face. See id. (“A plaintiff need not show

24 that the act in question was intended to deceive, but that the alleged act had the capacity to

     ORDER ON MOTIONS TO DISMISS, SECOND
     AMENDED COMPLAINT- 5
              Case 2:14-cv-01089-MJP Document 92 Filed 10/31/14 Page 6 of 8



 1 deceive a substantial portion of the public.”) (emphasis in original). Plaintiff urges in his

 2 Response that the geographic sales restriction “makes it an unfair game to the Forty-Niners since

 3 the crowd gets so loud when the Forty-Niner Quarterback makes his call, it makes it an unfair

 4 game” (Dkt. No. 78 at 5); unfortunately, any inequity whose source is the volume of the

 5 CenturyLink crowd does not state a legal claim under the WCPA.

 6          There is no statute entitled the Federal Consumer Protection Law (Dkt. No. 66 at 7) or the

 7 Federal Consumer Fraud Act (id. at 5). Assuming Plaintiff intended to refer to the Federal Trade

 8 Commission Act, as his Response suggests (see Dkt. No. 78 at 7–8), the claim fails because there

 9 is no private right of action under the “unfair or deceptive acts or practices” section of the FTCA.

10 See 15 U.S.C. § 45(a); Dreisbach v. Murphy, 658 F.2d 720, 730 (9th Cir. 1981).

11          Plaintiff fails to state a claim under the WCPA or similar federal law.

12          V.      Antitrust Claims

13          Defendants also move to dismiss Plaintiff’s antitrust claims pursuant the Sherman Act

14 and Clayton Act. The Sherman Act claims depend as an initial step on a plaintiff establishing

15 market power in a “relevant market.” See Tanaka v. University of Southern California, 252 F.3d

16 1059, 1063 (9th Cir. 2001) (“Tanaka’s complaint alleges that the relevant geographic market is

17 Los Angeles and the relevant product market is the ‘UCLA women’s soccer program.’ Neither of

18 these ‘markets’ is appropriately defined for antitrust purposes, even at this stage of the

19 litigation.”). Plaintiff’s threadbare allegations do not relate to competition between firms in a

20 market, but to the exercise of a natural monopoly on sales of tickets to a single stadium. See

21 Bushie v. Stenocord Corp., 460 F.2d 116, 120 (9th Cir. 1972) (“A manufacturer has a natural

22 monopoly over [its] own products . . . . [u]nless the manufacturer used his natural monopoly to

23 gain control of the relevant market in which his products compete, the antitrust laws are not

24 violated.”).

     ORDER ON MOTIONS TO DISMISS, SECOND
     AMENDED COMPLAINT- 6
              Case 2:14-cv-01089-MJP Document 92 Filed 10/31/14 Page 7 of 8



 1          The Clayton Act, meanwhile, applies solely to commodities. Tickets to a Seahawks game

 2 are not tangible goods, but revocable licenses, so the Clayton Act does not apply. See Kennedy

 3 Theater Ticket Servs. V. Ticketron, Inc., 342 F. Supp. 922, 925–27 (E.D. Pa. 1972).

 4          Plaintiff fails to state an antitrust claim.

 5          VI.     Unjust Enrichment

 6          Finally, Plaintiff alleges the Defendants—presumably, Ticketmaster—are unjustly

 7 enriched by sales on the secondary market for amounts in excess of the face value. (Dkt. No. 66

 8 at 8–9.) A plaintiff claiming unjust enrichment must plausibly allege facts supporting three

 9 elements: “a benefit conferred upon the defendant by the plaintiff; an appreciation or knowledge

10 by the defendant of the benefit; and the acceptance or retention by the defendant of the benefit

11 under such circumstances as to make it inequitable for the defendant to retain the benefit without

12 the payment of its value.” Young v. Young, 164 Wn.2d 477 (2008). Since Plaintiff cannot allege

13 he purchased a ticket on the secondary market (indeed, he alleges he was unable to attend the

14 game), he never conferred a benefit upon any Defendant. This claim fails as well.

15          VII.    Amended Complaint

16          Under Federal Rule of Civil Procedure 15(a), the second attempt to amend a complaint

17 requires leave of the court. Although Defendants ask to strike Plaintiff’s proposed Amended

18 Complaint, their opposition stems from Plaintiff’s failure to formally request leave of the Court.

19 (See Dkt. No. 90 at 2; Dkt. No. 91 at 1–5.) Since the Court is interpreting Plaintiff’s proposed

20 Second Amended Complaint as a request for leave, the Court declines to strike Plaintiff’s

21 request. In deciding whether the grant a motion to amend, the court considers a number of

22 factors, including undue delay, bad faith or dilatory motive, repeated failure to cure deficiencies

23 by amendments previously allowed, undue prejudice to opposing parties, harm to the movant if

24 leave is not granted, and futility of the amendment. Foman v. Davis, 37 U.S. 178, 182 (1962);

     ORDER ON MOTIONS TO DISMISS, SECOND
     AMENDED COMPLAINT- 7
              Case 2:14-cv-01089-MJP Document 92 Filed 10/31/14 Page 8 of 8



 1 Martinez v. Newport Beach City, 125 F.3d 777, 785 (9th Cir. 1997). Courts should not grant

 2 leave to amend where amendment would be futile. See Nunes v. Ashcroft, 348 F.3d 815, 818

 3 (9th Cir. 2003). Plaintiff’s proposed Second Amended Complaint contains new facts but they fail

 4 to address the deficiencies the Court has identified above. In addition, it recycles the same causes

 5 of action under new labels. (See, e.g., Fifth Claim for Relief (Unjust Enrichment), Dkt. No. 89 at

 6 8 (addressing Sherman Act violations); Third Claim for Relief (Violations of Sherman Act), Dkt.

 7 No. 66 at 8 (using the same language to address the same Sherman Act violations).) Because the

 8 proposed amendments would be futile, the Court denies leave to amend.

 9                                              Conclusion

10          The First Amended Complaint fails to state a claim under Federal Rule of Civil

11 Procedure 12(b)(6); the Court therefore GRANTS the motions to dismiss the Complaint. (Dkt.

12 Nos. 72, 73.) Because further amendment as indicated by the proposed Second Amended

13 Complaint would be futile, the dismissal is with prejudice. Finally, the Court DENIES leave to

14 amend (Dkt. No. 89) but also DENIES Defendants’ requests to strike the filing (Dkt. Nos. 90,

15 91).

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17          The clerk is ordered to provide copies of this order to all counsel.

18          Dated this 31st day of October, 2014.

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                                                          Marsha J. Pechman
22                                                        Chief United States District Judge

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     ORDER ON MOTIONS TO DISMISS, SECOND
     AMENDED COMPLAINT- 8
